          Case 2:16-cv-00129-WJ-CG Document 86 Filed 08/30/17 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW MEXICO



AARON VARELA and
EVAN REED and
MARK GABLE,

               Plaintiffs,
    vs.                                                   CASE NO.: 2:16-cv-129-WJ-CG

NOVA HARDBANDING, LLC,
NOVA MUD, INC. and
NOVA FRAC SAND, LLC. and
and KENNETH BROMLEY,

            Defendants.
___________________________________________________/

                              AGREED ORDER OF DISMISSAL

       THIS MATTER COMES before the Court on a stipulation to dismiss by and between

the Plaintiffs and the Defendants without prejudice.

       IT IS HEREBY ORDERED THAT:

       The instant lawsuit, and any and all claims against Defendants related thereto, are

voluntarily dismissed with prejudice. If the parties require the Court’s involvement to enforce

any part of the Settlement Agreement, they may file a motion in this case at that time.




                                             UNITED STATES DISTRICT JUDGE
       Case 2:16-cv-00129-WJ-CG Document 86 Filed 08/30/17 Page 2 of 2




AGREED:

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                                      Page 2 of 2
